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                                     UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA


TIMOTHY LOVEJOY                                        )    Case Number
                                                       )
                                                       )
            Plaintiffs,                                )
                                                       )    CIVIL COMPLAINT
    vs.                                                )
                                                       )
PENNCRO ASSOCIATES                                     )    JURY TRIAL DEMANDED
                                                       )
          Defendant.                                   )

                                    COMPLAINT AND JURY DEMAND

                   COMES NOW, Plaintiff, Timothy Lovejoy, by and through his undersigned

          counsel, Warren, Vullings & Vassallo, LLP, complaining of Defendant, and respectfully

          avers as follows:

                   I.     INTRODUCTORY STATEMENT

                   1.     Plaintiff, Timothy Lovejoy (hereinafter “Plaintiff”), is an individual

          consumer and brings this action for actual and statutory damages and other relief against

          Defendant for violations to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

          (“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

          unfair practices.

                   II.    JURISDICTION

                   2.     Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

          §1337.
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       3.      Venue in this District is proper in that the Defendant transacts business in

the Commonwealth of Pennsylvania.

               III.   PARTIES

       4.      Plaintiff, Timothy Lovejoy, is an adult individual and citizen of the State of

Georgia, residing at 330 Arrowhead Boulevard, Jonesboro, Georgia 30236.

       5.      Defendant, Penncro Associates, Inc. (“Defendant”), at all times relevant

hereto, is and was a corporation engaged in the business of collecting debt within the

Commonwealth of Pennsylvania with its principal place of business located at 95 James

Way, Suite 113, Southampton, Pennsylvania 18966.

       6.      Defendant is engaged in the collection of debts from consumers using the

mail. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

       IV.     FACTUAL ALLEGATIONS

       7.      Plaintiff has recently started receiving a series of harassing telephone calls

from defendant relative to the collection of a consumer debt.

       8.      Plaintiff has explained on numerous occasions he is presently unemployed,

whereupon defendant’s representatives condescendingly ask him, “Well are you even

looking for a job?”

       9.      When plaintiff tells defendant’s representatives to stop harassing him with

constant telephone calls, plaintiff is told “We can call as much as we want”.

       10.     When plaintiff tells defendant’s representatives to stop contacting him on

Sundays, because he is with his family, they tell him, “We can call anytime we want”.
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         11.   Defendant’s rude, abusive, demeaning and harassing calls to plaintiff are a

violation of the FDCPA.




                                          COUNT I
                        FDCPA VIOLATION 15 U.S.C. § 1692 et seq.

         12.   The above paragraphs are hereby incorporated herein by reference.

         13.   Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to, the following:

         a.    15 U.S.C. 1692e(10), in that Defendant used false representations or

deceptive means to collect or attempt to collect the alleged debt as stated more clearly

above.

         b.    15 U.S.C. 1692e(11), in that Defendant failed to state in a series of

telephone calls that it was a debt collector attempting to collect a debt and that any

information obtained would be used for that purpose.

         c.    15 U.S.C. 1692d, in that Defendant engaged in conduct the natural

consequence of which is to harass, oppress, or abuse Plaintiff in connection with the

collection of a debt.

         14.   As a result of the foregoing violations of the FDCPA, Defendant is liable to

Plaintiff for a declaratory judgment that Defendant’s conduct violated the FDCPA, actual

damages, statutory damages, attorney’s fees and costs and other appropriate relief,

pursuant to 73 P.S. § 201-9.2.
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        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in

their favor and against Defendant and Order the following relief:

        a.     Declaratory judgment that the Defendant’s conduct violated the FDCPA;

        b.     Actual damages;

        c.     Statutory damages pursuant to 15 U.S.C. §1692k;

        d.     Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        e.       Such addition and further relief as may be appropriate or that the interests of
justice require.


        V.     JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.

                                       Respectfully submitted,

                                       WARREN, VULLINGS & VASSALLO, LLP

Date:   2/13/08                        BY:       /s/Carol L. Vassallo________
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